              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Hon. Guy Reschenthaler, et al.,

                 Plaintiffs,

           v.                     No. 1:24-cv-01671-CCC
                                  Hon. Christopher C. Conner
Secretary Al Schmidt, et al.,

                 Defendants.




 BRIEF IN SUPPORT OF MOTION TO DISMISS FILED BY
SECRETARY OF THE COMMONWEALTH AL SCHMIDT, AND
      DEPUTY SECRETARY JONATHAN MARKS
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                            INTRODUCTION

     With less than one month to go before Election Day, and mail-in

voting already underway, several sitting members of Congress and a

nonprofit organization have asked that this Court require counties in

Pennsylvania to set aside all ballots cast by members of the armed forces

serving abroad as well as those of other overseas voters. Plaintiffs’ basis

for that requested relief rests on their own confusion over how two

separate requirements of the Help America Vote Act (HAVA) apply to

overseas voters. The first, relating to applications to register to vote, does

apply to overseas voters. The second, relating to applications to vote by

absentee or mail-in ballot, does not. Because Plaintiffs conflate these

provisions, their complaint is groundless.

     But the Court need not address the merits of the complaint at all,

because several threshold issues require dismissal. First, plaintiffs lack

standing for two separate reasons: they assert nothing more than

generalized grievances of the sort that the Third Circuit has held do not

confer standing in election cases; and the injuries they claim would be

redressable only through relief directed against county election

officials—who    are   responsible    for   processing   voter   registration
applications as well as returned mail ballots—not any Defendant.1

Second, Plaintiffs lack a cause of action: Third Circuit law is clear that

these Plaintiffs have no private right of action to enforce the specific

provisions they allege Defendants are violating. And, third, Plaintiffs

have inexcusably delayed in bringing this action, complaining about

policies that have been in effect for years.

      For all these reasons, Plaintiffs’ complaint should be dismissed.

                              BACKGROUND

      This case concerns the interaction of two federal statutes.

      Congress enacted the first, HAVA, in the wake of the 2000

Presidential Election and, relevantly, created new mandatory procedures

standards for states, including requirements to build a computerized

statewide voter registration system and requirements for voters who

register by mail. HAVA requires that states develop “a single, uniform,

official,   centralized,   interactive   computerized   statewide    voter

registration list” that assigns a unique identifier to every registered

voter. 52 U.S.C. § 21083(a)(1)(A). Pennsylvania met this obligation by




      1 For the same reason, Plaintiffs have failed to join indispensable

parties. See Fed. R. Civ. P. 12(b)(7).
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creating the Statewide Uniform Registry of Electors (the “SURE System”

or “SURE”). 25 Pa.C.S. § 1222(a).

     Congress passed the second, the Uniformed and Overseas Citizens

Absentee Voting Act (UOCAVA), to ensure that active-duty military

members, as well as other categories of U.S. citizens living overseas, are

entitled to vote in elections for federal offices by absentee ballot. Under

the definitions adopted by Congress, UOCAVA applies to “absent

uniformed services voters” and “overseas voters.” 52 U.S.C. § 20303.

     These statutes interact differently as far as the proof of

identification required at the time of registering to vote and then at the

time of voting.

     Registration: Under HAVA, a state may not process a voter

registration application unless it contains the applicant’s driver’s license

number or the last four digits of the applicant’s Social Security Number,

unless the applicant has been issued neither. See 52 U.S.C.

§ 21083(a)(5)(A). This requirement applies to all voters, including




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overseas voters. See Exhibit attached hereto (Federal Post Card

Application (FPCA) with PA instructions).2

     Under Pennsylvania Law, county voter registration commissions

receive voter registration applications, examine whether prospective

voters possess the qualifications to vote, and depending upon the result

of that examination, accept them, reject them, or otherwise disposes of

them. 25 Pa.C.S. § 1328.

     Voting: Under HAVA, first-time voters who registered to vote by

mail are required to provide identification, either in person or with their

returned mail ballot. See 52 U.S.C. § 21083(b). Mail voters satisfy this

requirement by returning, with their ballot, either a copy of a valid photo

identification or a copy of a “utility bill, bank statement, government

check, paycheck, or other government document” listing the voter’s

address. Id. § 21083(b)(2)(A)(ii). However, this requirement does not

apply to any voter who is “entitled to vote by absentee ballot under the



     2 While Plaintiff attached an FPCA application to its brief, see Pls.’

Ex. G, it failed to attach the complete one with Pennsylvania
instructions. Because this document is referenced and explicitly relied
upon by Plaintiffs it is appropriate to attach it here. See In re Burlington
Coat Factory Securites Lit., 114 F.3d 1410, 1426 (3d Cir. 1997) (district
court ruling on motion to dismiss may properly consider such document).
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Uniformed     and    Overseas    Citizens    Absentee     Voting    Act.”   Id.

§ 21083(b)(3)(C)(i). The state law implementing this identification

requirement similarly exempts UOCAVA voters. See 25 P.S. § 3146.8(i)

(“Notwithstanding the provisions of this section, a qualified absentee

elector shall not be required to provide proof of identification if the elector

is entitled to vote by absentee ballot under [UOCAVA].”)

      Plaintiffs’ Amended Complaint. Within the context of these

requirements, Plaintiffs complain about three statements made by the

Defendants. First, Plaintiffs complain that the Department’s Voter ID

Guidance, issued in 2022, states that UOCAVA voters are not required

to provide proof of identification with their returned ballots. Am. Compl.

¶127 & Ex. M. Second, Plaintiffs allege that, during an extended

legislative committee meeting, Deputy Secretary Jonathan Marks

indicated   that    UOCAVA      voters    are   exempt    from     verification

requirements. Am. Compl. ¶ 130. Third, Plaintiffs complain that the

Department’s Guidance on Military and Overseas Voters indicates, like

the Voter ID Guidance, that “covered voters are exempt from the Election

Code’s ID requirements for absentee voters.” Am. Compl. ¶131 Plaintiffs

have cobbled together their complaint from these statements.


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                       STANDARD OF REVIEW

     Facial challenges to subject matter jurisdiction under Rule 12(b)(1)

and motions to dismiss under Rule 12(b)(6) are evaluated under the same

standard of review. Nigro v. Pa. Higher Educ. Assistance Agency, No. 19-

2000, 2020 WL 5369980, at *5 (M.D. Pa. Sept. 8, 2020). The Court must

consider whether the Amended Complaint contains sufficient plausible

factual allegations to establish this Court’s subject matter jurisdiction

and whether it states a claim for relief that is plausible on its face. Id. at

*4-5. Further, this Court must determine whether Plaintiffs’ complaint

should be dismissed under Rule 12(b)(7) because they have failed to join

the Counties and officials that actually implement the processes about

which plaintiffs complain.

                               ARGUMENT

     This Court should dismiss the Amended Complaint because

Plaintiffs lack standing. No Plaintiff has suffered a legally cognizable

injury and their supposed injuries cannot be redressed by Defendants.

While the Court need not—and should not—go beyond these failures, the

complaint may also be dismissed because Plaintiffs have no plausible

cause of action, have failed to allege a violation of any federal


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constitutional or statutory requirement, and their complaint is time-

barred as a result of their inexcusable delay in bringing this suit.

I.   Plaintiffs Lack Standing

     The U.S. Constitution confines a federal court’s jurisdiction to

“Cases” and “Controversies.” U.S. Const. art. III, § 2. This limit is

enforced by requiring that a plaintiff establish standing, which in turn

requires them to demonstrate that they suffered (1) an injury in fact,

(2) caused by the conduct complained of, and that is (3) capable of judicial

remedy. Yaw v. Delaware River Basin Comm’n, 49 F.4th 302, 310 (3d Cir.

2022). Respect for separation of powers makes standing concerns

“particularly acute” in cases brought by legislators. Russell v. DeJongh,

491 F.3d 130, 134 (3d Cir. 2007).

     For injury in fact, a plaintiff cannot rely upon a general interest “in

the proper application of the Constitution and laws.” Lujan v. Defenders

of Wildlife, 504 U.S. 555, 573 (1992). Injuries must be personal to the

plaintiff as well as “concrete” and “particularized.” Raines v. Byrd, 521

U.S. 811, 818-19 (1997); see also Yaw, 49 F.4th at 311, 314-15. Here,

accepting their non-conclusory allegations, Plaintiffs have not alleged

any concrete, particularized injury specific to them.


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     The Amended Complaint makes abundantly clear that the claimed

injury here is that the Defendants’ statements and directions diverge

from plaintiff’s misinterpretation of HAVA, UOCAVA or state election

law. This is no more than the type of allegations of generalized injury

that have repeatedly been deemed insufficient for Article III standing

purposes.

     That the allegations are made, in part, by legislators does nothing

to confer standing under Article III. The Supreme Court said as much in

Raines v. Byrd. There, six members of Congress filed suit challenging a

statute that allowed the President to “‘cancel’ certain spending and tax

benefit measures after he has signed them into law.” 521 U.S. 811, 814

(1997). The legislators asserted they had standing based on a claimed

interest in maintaining the effectiveness of their votes. Id. at 821-22. The

Court ruled that such an interest was shared equally by every member

of Congress’s two bodies such that no individual member had a personal

stake; the alleged injury was instead an “institutional injury.” Id. at 821,

829-30; see also Corman v. Torres, 287 F. Supp. 3d 558, 567 (M.D. Pa.

2018) (holding that Pennsylvania legislators did not suffer any

particularized injury from the “purported usurpation of the Pennsylvania


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General Assembly’s exclusive rights under the Elections Clause of the

United States Constitution.”); Keefer v. Biden, – F. Supp. 3d –, 24-147,

2024 WL 1285538 at *7-10 (M.D. Pa. Mar. 26, 2024). Elected plaintiffs

have no way around this conclusive precedent, which “flows naturally

from bedrock standing requirements.” Yaw, 49 F.4th at 314.

     Further, Plaintiffs’ interest in “federal rights to a fair and equal

election,” and in assuring that “state and local election officials comply

with federal election laws and voter registration information verification

requirements” is insufficient to confer standing. Am. Compl. ¶ 35. A

generalized grievance that is “undifferentiated and common to all

members of the public” is insufficient to establish standing. Lujan, 504

U.S. at 575. “[W]hen the asserted harm is a ‘generalized grievance’

shared in substantially equal measure by all or a large class of citizens,

that harm alone normally does not warrant exercise of jurisdiction.”

Warth v. Seldin, 422 U.S. 490, 499 (1975) (citation omitted); see also

Bognet v. Secretary Commonwealth of Pennsylvania, 980 F.3d 336, 349

(3d Cir.), vacated as moot by Bognet v. Degraffenreid, 141 S. Ct. 2508

(2021).




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      The allegations before this Court are undifferentiated and

generalized and therefore cannot support standing. Plaintiffs’ claimed

injury is that their right to vote or run for elected office in a “free and fair

election” is somehow violated by the Defendants’ speech. Am. Compl.

¶ 34. Such averments are plainly insufficient to confer standing. Because

complaints of alleged “insecurity” affect all voters equally and are

generalized grievances, they are incapable of conferring standing—the

supposed harm affects all voters equally. See Bognet, 980 F.3d at 352

(dismissing vote “dilution” claims for lack of standing); see also Wood v.

Raffensperger, 981 F.3d 1307, 1314-15 (11th Cir. 2020) (dismissing claim

based on interest that “only lawful ballots are counted” as generalized

grievance insufficient for standing).

      Interests that that “only lawful ballots are counted” or that

“government be administered according to the law” are generalized

interests that do not permit standing. Wood, 981 F.3d at 1314. And

precedent “uniformly” holds that even an allegation that executive action

violated a duly enacted statute “is not an injury for standing purposes.”

Russell, 491 F.3d at 134




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      There is nothing in the Amended Complaint (nor could there be)

that identifies how any Plaintiff is affected by the conduct challenged in

this case in a way that is any different from any other legislator or

member of the public.

      Nor are Plaintiffs’ claims redressable in this action. The processes

that Plaintiffs take issue with are administered by counties and the relief

they seek is ultimately from counties. See 25 Pa.C.S. § 1328 (review of

registration); 25 P.S. § 3146.8 (canvass of absentee ballots, including from

military voters); see also Am. Compl., Prayer for Relief ¶¶ 3-4 (seeking

relief from counties). While they describe relief from the Secretary—

including that he advises the counties in accordance with Plaintiffs’

mistaken view of the law—this is not an area in which the Secretary can

compel conduct from counties officials. See, e.g., Zimmerman v. Schmidt,

63 MAP 2024, 2024 WL 4284202, at *1 (Pa. Sept. 25, 2024) (finding

Secretary is not an indispensable party in case challenging where

absentee ballots are canvassed).

II.   Plaintiffs Lack a Cause of Action

      Next, Plaintiffs have no cause of action. This fact independently

warrants dismissal. See, e.g., Wisniewski v. Rodale, Inc., 510 F.3d 294,


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308 (3d Cir. 2007) (affirming dismissal because statute did not create a

private right of action).

      Initially,    Plaintiffs    freely   admit   that    the   United    States

Constitution’s Supremacy Clause provides no individual cause of action.

See Am. Compl. ¶ 175 (acknowledging that the Supremacy Clause does

not “confer a cause of action.”); see also Armstrong v. Exceptional Child

Ctr., Inc., 575 U.S. 320, 325 (2015) (holding the same).

      Likewise, HAVA generally “does not include a private right of

action.”   American       Civil    Rights    Union    v.    Philadelphia     City

Commissioners, 872 F.3d 175 (3d. Cit. 2017). Rather, “HAVA includes

only two mechanisms for enforcement: (1) a civil action brought by the

Attorney General, and (2) administrative complaint.” Id. This case

involves neither.

      In fact, plaintiff PA Fair Elections has brought an administrative

complaint raising the same issues, which is currently on appeal in

Commonwealth Court. See PA Fair Elections v. Pennsylvania Dept. of

State, No. 1512 C.D. 2023 (Pa. Cmwlth). Under both federal and state

law, this administrative complaint process is the proper mechanism for

addressing claims such as those alleged here. See 52 U.S.C. § 21112; 25


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P.S. § 3046.2; 42 Pa.C.S.§ 763. There is no legal authority for attempting

an end-run around that process by filing a separate case in federal court.

     Likewise, Plaintiffs identify nothing in UOCAVA that invests in

them a privately enforceable right. In fact, the statutory system includes

a standalone enforcement section that assigns the Attorney General

specific authority to bring actions. See 52 U.S.C. § 20307(a) (providing

only that “[t]he Attorney General may bring a civil action in an

appropriate district court for such declaratory or injunctive relief as may

be necessary to carry out this chapter.”). Nothing in UOCAVA suggests

Congress contemplated any alternatives.

     Furthermore, to the extent that Plaintiffs assert that Defendants

statements are inconsistent with Pennsylvania election law (an assertion

which has no basis), they likewise have no federal cause of action, and

their claims would be barred by the Eleventh Amendment to the United

States Constitution. See, Leer Elec., Inc. v. Pennsylvania, Dep’t of Lab. &

Indus., 597 F. Supp. 2d 470, 477 (M.D. Pa. 2009) (“[I]f the Court were to

instruct the Pennsylvania officials on how to conform their conduct to

Pennsylvania law, it would engage in a practice that ‘conflicts directly

with the    principles   of   federalism    that   underlie   the Eleventh


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Amendment.’” (quoting Pennhurst State School & Hosp. v. Halderman,

465 U.S. 89, 106 (1984)).

     For this reason, Plaintiffs have failed to state a claim and the

Amended Complaint should be dismissed on this basis.

III. Plaintiffs’ Claims Lack Any Plausible Merit

     Even if they had a cause of action, Plaintiffs are wrong on the law.

     Plaintiffs cite to the Supremacy Clause seemingly to claim that the

Secretary’s guidance to county election officials is somehow “preempted”

by HAVA. Am. Compl. ¶ 173-196. This argument is a non sequitur.

Claims of preemption necessarily flow from the statutory text. See,

Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1, 14 (2013).

     Here, the text of HAVA, UOCAVA, and Pennsylvania’s election

code, as well as the Defendant’s statements, reveal no conflict—thus

there can be no preemption. And Petitioners do not even attempt to

identify any.

     Plaintiffs have not and cannot cite any authority to show how the

Department’s statements could violate HAVA or UOCAVA. In fact, a

plain reading of both HAVA and the Pennsylvania Election Code, both of

which exempt UOCAVA-covered voters from identification requirements


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imposed of other voters who register or vote by mail, supports the

Department’s understanding.

     The plain language of HAVA provides that voter registration

applications for an election for Federal office must include either a

driver’s license number, an “SSN4” or a statement that the registrant has

neither. 42 U.S.C. § 21083(a)(5)(A)(i)&(ii). HAVA further states that it is

up to the state to determine sufficiency of the information in accordance

with its own law. § 21083(a)(5)(A)(iii).

     This provision also establishes identification requirements for first-

time voters who register by mail, but specifically exempts UOCAVA-

covered voters from those requirements. § 21083(b)(3). Indeed,

Petitioners flatly misread HAVA in their attempts to impose additional

requirements on UOCAVA-covered voters that do not appear in the law.

Specifically, Petitioners plead that “[i]f an individual does not possess a

driver’s license or social security number, the state may assign a unique

number” upon voter registration, “but that individual may not vote in a

Federal election unless they provide some other document to establish

identity and eligibility.” Am. Compl. ¶67. HAVA does not say this.




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      Rather, section 303(b) of HAVA, which sets the minimum

identification documents for voters who registered by mail, expressly

provides that it does not apply to UOCAVA voters. See, 52 U.S.C.

§ 21083(b)(3)(C)(i). And, while states can create additional identification

requirements, Pennsylvania too has provided in the election code

military and overseas voters are not subject to additional requirements.

      Specifically, the Pennsylvania Election Code requires absentee and

mail-in voters to provide identification by the sixth day after the election

for their vote to count, but exempts UOCAVA-covered voters from this

obligation.     Section 1308(i) of Pennsylvania’s Election Code states:

“Notwithstanding the provisions of this section, a qualified absentee

elector shall not be required to provide proof of identification if the elector

is entitled to vote by absentee ballot under the Uniformed and Overseas

Citizens Absentee Voting Act. . . .” 25 P.S. § 3146.8(i); see also 25 P.S.

§§ 3146.2(j);   3146.5(c)   (exempting    UOCAVA-covered        voters   from

identification requirements for absentee ballot applications).

      Plaintiffs may not like the fact that the Election Code exempts

UOCAVA-covered voters in this manner. But that does not create a

federal cause of action or any claim against the Secretary. Current law


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simply does not provide for the processes that Plaintiffs appear to seek.

As such, Plaintiffs’ claims cannot plausibly establish a right to relief, and

the Complaint should therefore be dismissed.

IV.   Plaintiffs’ Claims are Presumptively Barred by Laches

      Finally, Plaintiffs plead no facts to overcome the presumption that

laches bars their claims.

      As the Third Circuit recently reaffirmed, when an equitable claim

is brought outside the most analogous statute of limitations, the court

must presume that laches applies. Kars 4 Kids, Inc. v. America Can!, 98

F.4th 436, 444 (3d Cir. 2024) (holding that district court abused its

discretion for failing to apply presumption). The plaintiff then “carries

the burden of proving that his delay was excusable and that the delay did

not prejudice the defendant.” Id. (cleaned up).

      In the absence of an identifiable cause of action, courts can assume

that the most generous statute of limitations applies, which is the six

years default under Pennsylvania law for civil actions. 42 Pa.C.S.

§ 5527(b). But the provisions of Pennsylvania law that Plaintiffs

ultimately challenge—25 P.S. §§ 3146.2(j), 3146.5(c), 3146.8(i)—were




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enacted by the Pennsylvania General Assembly in 2012. Act of Mar. 14,

2012, P.L. 195, No. 18, §§ 4, 6, 7.

     As a result, Plaintiffs claims, such as they are, are presumptively

barred by laches and Plaintiffs bear the burden of proving otherwise.

Kars 4 Kids Inc., 98 F.4th at 444. To satisfy their burden on delay,

Plaintiffs here must show that “a reasonable person in [their] shoes

would have waited to file suit.” Id. at 444-45 (cleaned up). To satisfy their

burden on prejudice, Plaintiffs here must show that the Department is

“not prejudiced as a result of its delay in bringing suit.” Id. at 447.

Plaintiffs’ complaint does neither.

     First, Plaintiffs proffer no excuse for their delay. Nor do they

provide any reason for bringing this action at the eleventh hour—after

voting in the 2024 General Election has already commenced and after

over 25,000 overseas ballots have been sent to voters. Am. Compl. ¶ 20.

To the contrary, by Plaintiffs’ own pleadings, they have known of the

defendant’s statements regarding UOCAVA and established state

election law since at least 2022, yet chose to bring this action less than

one month from the 2024 presidential election. Am. Compl. ¶ 127; see

Kars 4 Kids Inc., 98 F.4th at 445.


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     Second, Plaintiffs cannot show that the relief they request would

not be prejudicial to the Department, election officials, and Pennsylvania

voters. Whether called “laches, the Purcell principle, or common sense,”

federal courts have consistently denied requests for late and onerous

election changes to protect the orderly operation of elections. Crookston

v. Johnson, 841 F.3d 396, 398 (6th Cir. 2016); accord e.g., Republican

Nat’l Comm. v. Democratic Nat’l Comm., 589 U.S. 423, 424 (2020)

(“[L]ower federal courts should ordinarily not alter the election rules on

the eve of an election.”); Bognet v. Secretary, 980 F.3d 336, 363 (3d Cir.

2020), vacated as moot (affirming district court’s denial of request for

preliminary injunction based solely on timing of plaintiffs’ request); Stein

v. Cortés, 223 F. Supp. 3d 423, 437 (E.D. Pa. 2016) (denying request for a

recount based on facts known to plaintiffs long before they filed);

Republican Party of Pa. v. Cortes, 218 F. Supp. 3d 396, 404-05 (E.D. Pa.

2016) (denying request enjoin restrictions on qualified poll watchers that

was filed just weeks before Election Day); Pa. Democratic Party v.

Republican Party of Pa., 16-5664, 2016 WL 6582659, at *5 (E.D. Pa. Nov.

7, 2016) (denying re-quest for injunctive relief because it was sought just

before Election Day).


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      Indeed, just last night another district court in Pennsylvania

denied a request for injunctive relief because balancing the equities

includes “a requirement to use some common sense,” and “[c]ommon

sense tells the Court that we are less than one month from a Presidential

general election.” West v. Pa. Dep’t of State, – F. Supp. 4th –, slip op. at

1, No. 24-1349, (W.D.Pa. Oct. 10, 2024). The court concluded that

“tinkering with the mechanics of a national election at a late stage is not

a wise idea,” especially where doing so poses an “actual risk of harm” to

election officials and voters. Id. at 2, 8.

      These principles apply with full force here given the timing of

Plaintiffs’ action. Even worse, nothing about Plaintiffs’ proposed “judicial

fire drill” was necessary. Republican Party of Pa., 218 F. Supp. 3d at 405.

In fact, more than a year ago, Plaintiff “Pennsylvania Fair Elections”

filed a HAVA administrative complaint addressing the same issues.

Nearly a year ago, on November 21, 2023, the Office of General Counsel

issued an adjudication in that matter, see Pls.’ Ex. D, which Plaintiff then

appealed to the Commonwealth Court of Pennsylvania, where it remains

pending. Am. Compl. ¶ 135.




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      Clearly, Plaintiffs knew or should have known both about the

administration of UOCAVA voters, and the administrative process under

HAVA, many months or even years ago. This action thus could have, and,

if Plaintiffs acted with diligence, should have been brought much

earlier—without injecting chaos into an election process that is well

underway.

     Because Plaintiffs plead no excuse for bringing this action 14 years

and six Congressional elections since the enactment of the state law

provisions governing these elections, they cannot meet their burden to

overcome laches. As such, their complaint should be dismissed.

                             CONCLUSION

     Because no Plaintiff has standing, the Amended Complaint should

be dismissed under Rule 12(b)(1). Otherwise, the Amended Complaint

should be dismissed with prejudice under Rule 12(b)(6) because Plaintiffs

have failed to state a claim, and under Rule 12(b)(7) because Plaintiffs

have failed to join indispensable parties.




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October 11, 2024                    Respectfully submitted,

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                              CERTIFICATES

         I hereby certify that a copy of this brief has been served on all

counsel of record using the Court’s CM/ECF system.

         I further certify that this brief contains 3,938 words and therefore

complies with Local Rule 7.8(b). In making this certificate, I have relied

on the word count of the word-processing system used to prepare the

brief.



October 11, 2024                     /s/ Thomas P. Howell
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